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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                )
 In re:                                                         )      Chapter 11
                                                                )
 COMPUTE NORTH HOLDINGS, INC., et al.,1                         )      Case No. 22-90273 (MI)
                                                                )
                                                                )      (Jointly Administered)
                                    Debtors.                    )
                                                                )

           SUNBELT SOLOMON SERVICES, LLC’s LIMITED OBJECTION TO
            DEBTORS’ PROPOSED SALE AND RESERVATION OF RIGHTS

Sunbelt Solomon Services, LLC (together with Solomon Corporation and its other affiliated parties

in interest, “Solomon”), a significant supplier and creditor of the Debtors, hereby submits its

Limited Objection to Debtor’s Proposed Sale and Reservation of Rights (the “Objection”) with

respect to the proposed sale of the Debtors’ assets in accordance with the Order (A) Approving De

Minimis Asset Sale Procedures; (B) Approving Certain Bidding Procedures, Assumption,

Assignment and Rejection Procedures, and the Form and Manner of Notice Thereof; (C)

Authorizing the Debtors to Enter into Asset Purchase Agreements with Stalking Horse Bidders;

and (D) Scheduling a Hearing on the Approval of the Sale of the Debtors’ Remaining Assets Free

and Clear of All Encumbrances as well as the Assumption and Assignment of Certain Executory

Contract and Unexpired Leases [Docket Entry No. 256] (the “Final Bid Procedures Order”). In

support of this Objection, Solomon respectfully shows the Court as follows:



1 The Debtors in these Chapter 11 cases, along with the last four digits of the Debtors’ federal tax identification

numbers, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi LLC (5551);
CN Atoka LLC (4384); CN Big Spring LLC (4397) CN Colorado Bend LLC (4610); CN Developments LLC (2570);
CN Equipment LLC (6885); CN King Mountain LLC (7190) CN Minden LLC (3722); CN Mining LLC (5223); CN
Pledgor LLC (9871); Compute North Member LLC (8639) Compute North NC08 LLC (8069); Compute North NY09
LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883); Compute North TX06 LLC (5921);
and Compute North TX10 LLC (4238). The Debtors’ service address for the purposes of these Chapter 11 cases is
7575 Corporate Way, Eden Prairie, Minnesota 55344.


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                                       BACKGROUND

       1.      Prior to September 22, 2022 (the “Petition Date”), Solomon entered into a series

of agreements with Compute North LLC, one of the Debtors. These agreements include a

December 20, 2021 Master Sale, Rental and Services Agreement (the “Master Agreement”) and

a series of subsequently-issued Purchase Orders issued thereunder between 2021 and 2022 (the

“P.O.s” and together with the Master Agreement, the “CN Contracts”). Pursuant to the CN

Contracts, Solomon delivered customized high-voltage Padmount Transformers (the

“Transformers”), as well as Equipment rentals and Equipment servicing, to the Debtors, and

issued corresponding invoices under the Master Agreement. Transactions were only consummated

on a small number of the Transformers at issue, which can be traced by serial number.

       2.      Relevant here, the sales to Debtors for most of the Transformers have not been

closed and/or consummated. Solomon continues to possess an ownership interest in those

Transformers. As a result, these Transformers are and remain property of Solomon, and are not

property of the Debtors’ estates, notwithstanding their presence in Debtors’ lay-down or storage

yards. There is no valid argument that liens of any secured lenders of Debtors would have attached

to these Transformers. Moreover, based upon Solomon’s diligent inquiry and search of relevant

recorded instruments, none of the liens of Debtors’ secured creditors even purportedly attach to

Solomon’s Transformers referenced herein. However, Solomon understands that multiple bidders

may desire to acquire these Transformers, alongside any purchase of other assets or Transformers

from the Debtors. Solomon is aware that Debtors intend to sell assets through an auction or

otherwise, and in the event a party submits a bid       to purchase 11 high-voltage padmount

transformers, coordination of such sales by serial number with Solomon will be required to give

Solomon an opportunity to elect to sell its property alongside Debtors to assist the estate’s sale




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efforts. For the avoidance of doubt, Solomon does not object to the sale of these Transformers for

which sales have been consummated (Serial Nos. 902403 and 902404), but Solomon asserts a

limited objection to the sale of any of its Transformers without its consent and receipt of payment

for same as part of such sale, (some of which can be identified by Serial Nos. YT-22-10994, YT-

22-10995, YT-22-10996, YT-22-10997, YT-22-10998, YT-22-10999, YT-22-11000, YT-22-

11001, and YT-22-11002). Each of these unpaid Transformers has a sale price of $50,000

according to the agreement between Solomon and the Debtors. See Ex. 1 (Invoice No. 361903)

and Ex. 2 (Invoice No. 362739).

       3.      To the extent any bidder seeks to purchase pad mount transformers as part of the

assets to be purchased, Solomon requests that Debtor provide information regarding such interest

so that coordination regarding ownership can be established, typically through the serial numbers

on the pad mount transformers (as well as other information or specifics from Debtors). Upon

provision of such information, it will enable Solomon and Debtors to correctly ascertain ownership

of same. Thus, Solomon submits this limited objection to the sale of any of the Transformers

Solomon still owns without full compensation from the purchaser directly to Solomon for those

specific Transformers and correct classification of ownership of such Transformers in any such

transaction. Solomon is not in a position to state with certainty whether there is any overlap

between the Transformers it owns and those any prospective purchaser may be interested in, nor

can Solomon conclude at this point Debtors’ intended treatment of Solomon’s rights thereto, to

the extent of any overlap.

       4.      Solomon therefore files this limited Objection on several bases. First, Solomon

objects to any sale or attempt to auction off Solomon’s property. To the extent the Debtors plan to

sell Solomon’s Transformers for which the transactions for Debtors’ purchase have not yet been




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consummated, and such Transformers remain the property of Solomon and are not property of the

Debtors’ estate under the agreements and applicable law, Solomon’s consent and participation is

required. Solomon further objects to the extent any bid does not contemplate payment directly to

Solomon for such Transformers, for the reasons stated above. Solomon objects to any bid or sale

to the extent the Debtors do not intend to allow such purchaser, if successful, to pay Solomon

directly for such Transformers, as such Transformers remain the property of Solomon and not the

Debtors’ estate. At this time, however, Solomon does not have sufficient information to determine

which, if any, of its Transformers are part of any bid proposal; however, Solomon will engage with

Debtors to resolve such issues to only facilitate any sale as noted above. Finally, Solomon objects

to the extent there is any overlap between any bid and the Solomon Transformers, as the Debtors

have not provided any assurances to Solomon as to how they plan to treat such an overlap or

competing bids.

        5.      Solomon reserves its rights to amend this Objection.

                                      LIMITED OBJECTION

        6.      Under Section 363(b)(1) of the Bankruptcy Code, the Debtors may sell property of

the estate. See 11 U.S.C. § 363. Property held by the Debtor on behalf of another is not property

of the bankruptcy estates. See e.g., Beiger v. I.R.S., 496 U.S. 53, 59 (1990) (“Because the debtor

does not hold an equitable interest in the property[,] he hold in trust for another, that interest is not

‘property of the estate.’”). All of Solomon’s Transformers for which sales have not been closed or

consummated and Solomon’s rights therein have been protected are not property of the Debtors’

bankruptcy estates, but are and remain Solomon’s property. Subject to working out the appropriate

payments from the prospective bidders, as the case may be, Solomon is willing to sell the

Transformers it owns to such purchasers as part of the sale for the amounts previously agreed upon




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pursuant to the CN Contracts, provided the proceeds for such property are directed to Solomon.

Otherwise, Solomon objects to the proposed sale of the Debtors’ assets to the extent that the

Debtors seek to sell Solomon’s Transformers and respectfully requests that the Court enter an order

denying the sale to the extent that the Debtors seek to sell Solomon’s Transformers for which sales

have not been closed and/or consummated.


DATED:         November 4, 2022              MAYER BROWN LLP
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                                             Attorneys for Sunbelt Solomon Services, LLC



                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing instrument was duly
served by electronic transmission to all registered ECF users appearing in this case on November
4, 2022.


                                             /s/ Brandon F. Renken
                                             Brandon F. Renken




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